Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 1 of 14




            Exhibit 50
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 2 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 3 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 4 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 5 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 6 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 7 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 8 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 9 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 10 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 11 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 12 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 13 of 14
Case 1:17-cv-03371-ELH Document 135-52 Filed 06/24/20 Page 14 of 14
